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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
ROBERT T. BROCKMAN, §
Plaintiff,
v. Civil Action No. 4:22-cv-00202-GCH
UNITED STATES OF AMERICA,
Defendant. :

DECLARATION OF MARK A. SRERE

I, Mark A. Srere, declare as follows:

li I am a member of the bar of the District of Columbia. I am a partner of the
law firm Bryan Cave Leighton Paisner LLP, counsel for BCT Limited. I make this
Declaration in support of Plaintiff Robert T. Brockman’s Second Supplemental
Memorandum (1) in Support of Motion for Determination on Complaint for Judicial
Review and Abatement of Jeopardy Assessment and Jeopardy Levy or (2) in the
Alternative, for a Stay of IRS Collection.

bn BCT Limited (“BCT”) is the trustee of the A. Eugene Brockman Charitable
Trust (the “AEBCT”). Spanish Steps Holdings Ltd. (“SSHL”) is an entity that is 100%
owned by the AEBCT, and therefore is controlled by BCT, as trustee for the
AEBCT. SSHL has an account at Mirabaud & Cie SA (“Mirabaud”’) in Switzerland,
valued at more than $1.3 billion. SSHL is represented in Switzerland by the Geneva-

based law firm, LALIVE SA (“SSHL’s Swiss counsel”).
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a In order to protect the interests and assets of the AEBCT, BCT made a
proposal to the Internal Revenue Service (“IRS”) by letter dated March 15, 2022 to place
$1.45 billion in an account or accounts in the United States to secure any liability
determined to be owed by Mr. Brockman upon either the settlement or final appeal of the
Tax Court case. I understand that the March 15, 2022 letter has been provided to the
Court as Exhibit A to Docket No. 38-1.

4. The IRS refused to consider our March 15, 2022 proposal. We have
subsequently been in communication with the IRS to determine what would satisfy the
IRS to secure any potential tax liability determined to be due and as a result allow the
release of the jeopardy assessment.

a To this end, BCT has also had multiple discussions with Mirabaud through
SSHL’s Swiss counsel. Mirabaud was told by SSHL’s Swiss counsel that the purpose of
BCT’s efforts was to make the funds in SSHL’s Mirabaud account available to secure
payment of any potential tax liability determined against Mr. Brockman.

6. On Friday, July 8, 2022, Mirabaud for the first time informed SSHL’s
Swiss counsel on a call and in subsequent correspondence that a freeze had been placed
on SSHL’s account by the Public Prosecutor’s Office of the Canton of Geneva in October
2020, information that SSHL’s Swiss counsel promptly reported to me as BCT’s US.
counsel. Mirabaud also provided SSHL’s Swiss counsel with a redacted copy of the
Geneva prosecutor’s order of attachment. Copies of a certified translation and French-

language letter from Mirabaud on July 8, 2022, to SSHL’s Swiss counsel, providing a
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redacted copy of the Geneva prosecutor’s October 28, 2020 attachment order, are
attached as Ex. A hereto.

¥ Upon learning of this information from SSHL’s Swiss counsel, I
immediately informed counsel for Mr. Brockman that we had learned earlier that day that
the Geneva prosecutor had placed an order of attachment on the account on October 28,
2020.

8. Since July 8, 2022, BCT’s and SSHL’s counsel have undertaken to
determine the extent to which a portion or all of the funds in SSHL’s Mirabaud account
may nonetheless still be used to secure payment of any potential tax liability determined
against Mr. Brockman. These efforts are on-going.

I declare under penalty of perjury that the foregoing is true and correct.

Executed in Washington, D.C. on July 15, 2022.

Mark A. Srere
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EXHIBIT A
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CONSORTRA

TRANSLATIONS

London

This is to certify that the attached document is, to the best of my knowledge and belief a true,
accurate and complete translation from French into English of the attached letter from

Mirabaud & Cie SA to Lalive SA dated 8 July 2022, and the enclosures thereto.

Yours sincerely,

 

Andrzej Orville
Senior Project Manager

Monday, 11 July 2022

Consortra Translations Lid
Rex House,
4-12 Ragent Street
London
SW1Y 4RG
UK

 

London, UK | New York, NY | Washington DC | Houston, TX | San Francisco, CA | Hong Kong
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MIRABAUD

LEGAL DEPARTMENT

EMAIL AND POST

Mr Alexander Troller, Lawyer
Mr Daniel Lucien Buhr, Lawyer
Lalive SA

Rue de la Mairie 35

1211 Geneva 6

Geneva, 8 July 2022
Spanish Steps Holdings Ltd. - 507462 and 517243

Dear Sirs,

In your capacity as representatives of Spanish Steps Holdings Ltd., we are writing with reference to
Me Alexander Troller’s email of today’s date.

As you requested and as mentioned during the telephone discussions between Me Troller and Renate
Wey, please find enclosed a ‘redacted’ copy of the attachment order of 28 October 2020 issued by the
Public Prosecutor’s Office of the Canton of Geneva, which is sent to you based on your right to see the
aforesaid accounts.

For any further information in connection with proceedings P/12556/2020, please, once again, contact
the competent authority directly.

Yours faithfully,

Mirabaud & Cie SA

[signature] [signature]
Renate Wey Stéphanie Verne
Director Assistant Director

Enc: As stated.

Mirabaud & Cie SA 29, boulevard Georges-Favon CH-1204 Geneva / Tel +41 58 816 22 22 Fax +4158 8163895 1/1
www. mirabaud.com
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REPUBLIC AND CANTON OF GENEVA
JUDICIARY
Public Prosecutor's Office

 

[stamp: illegible]

Public Prosecutor’s Office MIRABAUD & CIE SA

Route de Chancy 6B Legal Department

Case postale 3565 Boulevard Georges-Favon 29
1211 Geneva 3 Case postale 5814

1211 Geneva 11
Our ref.: P/12556/2020 - YBE

Geneva, 28 October 2020

Attachment order (article 263 of the Swiss Code of Criminal Procedure)

Dear Sir/Madam,

Having regard to the criminal proceedings opened for money laundering (article 305"* of the Swiss
Criminal Code) and for laundering money following tax fraud (articles 305° points 1 and 1° of the
Swiss Criminal Code) against Robert T. BROCKMAN, born in 1941, Evatt TAMINE, born on 24 May 1964,
and Robert F. SMITH, born on 1 December 1962;

Having regard to the report filed by the Money Laundering Communication Office (MROS) on 15 July
2020;

The Public Prosecutor’s Office orders an attachment (article 263 of the Swiss Code of Criminal
Procedure) to be placed on the assets in account, including investments and safes, for the following
relations:

SPANISH STEPS HOLDINGS LTD, particularly account no. 507462
and its portfolio no. 517243
on the books of the bank MIRABAUD & CIE

An appeal may be filed against this order within 10 days by filing reasoned written submissions
before the Criminal Chamber of Appeal of the Court of Justice, case postale 3108, 1211 Geneva 3
(articles 393 et seq. of the Swiss Code of Criminal Procedure). The appeal must be filed on the last
day of the period at the latest at the registry of the Court of Justice, at the Poste Suisse [Swiss Post
Office], at a Swiss consular or diplomatic representative office or, with regard to prisoners, at the
address of the prison (article 91 of the Swiss Code of Criminal Procedure).

{ remain at your disposal for any questions you may have and send my best regards.

Marc BERCLAZ [Stamp:] Yves BERTOSSA
[signature] PUBLIC PROSECUTOR’S OFFICE [signature]
Registrar of the REPUBLIC AND CANTON of GENEVA Head Prosecutor

 

Tel +41 22 327 64 63 and 327 64 64 — http://ge.ch/justice/ministere-public
efax: efaxMP@justice.ge.ch — efax avocats: efaxMP.avocats@justice.ge.ch
Rules on use of efax: http://ge.ch/justice/ministere-public/efax
Opening hours: 08:00 to 12:00 and 14:00 to 17:00 — Telephone reception hours: 08:30 to 12:00 and 14:00 to 17:00
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MIRABAUD sence wmiaue

E-MAIL ET COURRIER

Monsieur Alexander Troller. Avocat
Monsieur Daniel Lucien Bahr, Avocat
Lalive SA

Rue de la Mairie 35

1211 Geneve 6

Geneve, le 8 juillet 2022

Spanish Steps Holdings Ltd. - 507462 et 517243

Maitres,

En votre qualité de représentants de Spanish Steps Holdings Ltd, nous donnons suite au courriel de Me Alexandre Troller de ce jour.
Selon votre demande et comme évaqué lors de la discussion téléphonique entre Me Troller et la soussignée de gauche, nous vous
prions de bien vouloir trouver ci-joint une copie « cavardiée » de fordonnance de séquestre du 28 octobre 2020 émise par le
Ministére public du Canton de Genéve, qui vous est transmise sur la base de votre droit de regard sur les comptes susmentionnés.
Pour toute information complémentaire en lien avec la procédure P/12556/2020, nous invitons, une fois de plus, a vous adresser

directement a I'autorité compétente.

Nous vous prions d’agréer, Maitres, expression de nos sentiments distingués.

Mirabaud & Cie SA

“Rena VAY : iene

Directeur Directeur-adjoint

 

Annexe : ment.

Mirabaud & Cie SA 29. boulevard Georges-Favon CH-1204 Genéve / 7+41 58 81622 22 F +41 588163895 1/4

www. mitabaud.com
Case 4:22-cv-00202 Document 53-1

at.

a fa REPUBLIQUE ET CANTON OE GENEVE

  

. POUVOIR JUDICIAIRE
==. Ministéere public

Ministere public
Route de Chancy 68
Case postaie 3565
1211 Geneve 3

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MIRABAUD & CIE SA
Service juridique

Boulevard Georges-Favon 29
Case postale 5815

Niréé: P/12556/2020 - YBE 1211 Geneve 11

Genéve, le 28 octobre 2020

Ordonnance de séquestre (art. 263 CPP)

Madame, Monsieur,
Vu la procédure pénale ouverte pour blanchiment d'argent (art. 305>° CP) et pour blanchiment de

fraude fiscale (art. 305° chiffres 1 et 15° CP) a l'encontre de Robert T. BROCKMAN, né en 1941,
Evatt TAMINE, né le 24 mai 1964 et Robert F. SMITH, né le 1° décembre 1962 ;

Vu ia dénonciation du Bureau de communication en matiere de blanchiment d'argent (MROS) du 15
juillét 2020 ;

Le Ministére public ordonne le séquestre (art. 263 CPP) des avoirs en compte, placements et safes
compris, pour les relations suivantes

SPANISH STEPS HOLDINGS LTD, notamment le compte n° 507462

et son portefeuille n° 517243
en les livres de la banque MIRABAUD & CIE

La présente ordonnance peut faire l'objet d'un recours, dans les 10 jours, par le dépdt de
conclusions écrites motivées auprés de la chambre pénale de recours de la Cour de justice,
case postale 3108, 1211 Genéve 3 (art. 393 ss CPP). Le recours doit étre remis au pius tard le
dernier jour du délai au greffe de la Cour de justice, a ja Poste suisse, a une représentation
consulaire ou diplomatique suisse ou, s’agissant de personnes détenues, a la direction de

l'établissement carcéral (art. 91 CPP).
Je reste a votre disposition pour toute question que vous pourriez avoir et vous prie d'agréer,
Madame, Monsieur, mes salutations distinguées

Marc 8 Lm Yves BERTOSSA
mS he ‘ fA
Az om S| 3 ee
Greffier \_\ Sea (3, PremiéeProcureur
\ - Oe LE}

Tél +41 22 327.64 63 et 327 64 64 + ntto-/ge.ch/justice/ministere-public
efax. efaxMP@justice ge.ch + efax avocats’ efaxMP avocats@justice.ge ch
Régies d'utilisation efax, http.//ge ch/justice/ministere-pubiic/efax
Horaires d’ouverture 8h00 - 12h00 et 14h00 « 17N00 - Horaires de réception teléphonique: 8h30 - 12h00 et 14n00 - 17n00
